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UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS

                                HOUSTON DIVISION

Ronald Jeffrey Prible
  Petitioner,

v.                                                    Case No. 4:09−cv−01896

Lorie Davis
  Respondent.



                             NOTICE OF SETTING
                             PLEASE TAKE NOTICE

                          HEARING: Telephone Conference
                                 DATE:    4/25/2019
                                  TIME:   12:00 PM
                               HAS BEEN SET BEFORE
                              JUDGE KEITH P. ELLISON
                          UNITED STATES COURTHOUSE
                           515 RUSK COURTROOM 3−A
                             HOUSTON, TEXAS 77002.


         ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
            ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
       ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                           Date: April 24, 2019

By Deputy Clerk, A. Rivera
